                 Case: 4:22-cv-00870-CDP Doc. #: 1-4 Filed: 08/22/22 Page: 1 of 2 PageID #: 18
/
      AO 440    (ReR~QE1\r~                a Civil Action

                    AUG 22     •)n ·_, 1         UNITED STATES DISTRICT COURT
                 U. S. DISTRICT COURT                                         for the
                EASTERif.'rimgr OF MO                              Eastern District of Missouri


                                                                                )
       KATH f;R.f tJ G:            r A RMN                                      )
                                     Plaintiff
                                                                                )
                                           v.                                   )       Civil Action No.
                                                                                )
    r-\1-1 1:   ICAt\l   A~c.r'ATIOfv OF0RTHODorvn r.:                          )
                                    Defendant
                                                                                )


                                                               SUMMONS IN A CIVIL ACTION

      To: (Defendant's name and address)
       AMr;        1c:11,"1   ssocrll r:r.otJ               Or O rno
      L/0()) f\J oRfl-+ l+ND'f>eR6/1 5ouLGVA D
        Sl\lNT           LbuJ:s,. MrssouRr                     t, o\'-11

                   A lawsuit has been filed against you.

               Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
      are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
      P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
      the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
      whose name and address are:                                  --0~
                                                \<:ATH fRDvE        /v1 A   f A rrrv \;R
                                                92?52                     D1<1VE
                                                            Kr-10LLSH'.t RE
                                                S At:N r     Lours/ H rs.sOvRI 631'23
             If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
      You also must file your answer or motion with the court.



                                                                                           CLERK OF COURT


       Date:       8/22/2 2                                                               ------·-- ·-- ---··---- -- - - - - - - - - - - -
                                                                                                      Signature of Clerk or Deputy Clerk
         Case: 4:22-cv-00870-CDP Doc. #: 1-4 Filed: 08/22/22 Page: 2 of 2 PageID #: 19


AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                         PROOF OF SERVICE
                       (Tliis section s/iould not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 was received by me on (date)

          0 I personally served the summons on the individual at (place)
                                                                                  -------------------
                                                                                  on (date)                         ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
         -----------------
           on (date)                               ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                   on (date)                        ; or

           0 I returned the summons unexecuted because                                                                            ; or

           0 Other (specify) :




           My fees are$                            for travel and $                 for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server 's signature



                                                                                        Printed name and title




                                                                                          Server's address


 Additional information regarding attempted service, etc:
